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 IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
v.                                           :       Case No.: 1:21-cr-00186-CRC
                                             :
DAVID ALLEN BLAIR                            :
                                             :
       Defendant.                            :

         DEFENDANT DAVID ALAN BLAIR’S RESPONSE TO MOTION FOR
          CONTINUANCE AND TOLLING OF SPEEDY TRIAL ACT TIME

       David Allen Blair, Defendant, by and through his counsel, Terrell N. Roberts, III, responds

to the Government’s Motion for Continuance of the Trial Date and Tolling of the Speedy Trial

Act.

       The Defendant consents to a continuance of the trial date to a date to be fixed during the

period of May through July, inclusive, of 2022, but no further.


                                               /s/ Terrell N. Roberts, III
                                             Terrell N. Roberts, III
                                             DC Bar No. 965061
                                             Attorney for Defendant
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing Defendant’s Motion to Dismiss was

electronically filed via CM/ECF system on November 23, 2021, and an electronic copy was e-

served to:
                                   Michael Liebman, Esq.
                               Assistant United States Attorney
                  Office of the United States Attorney, District of Columbia
                                     555 4th Street, NW
                                  Washington, D.C. 20530


                                            /s/ Terrell N. Roberts, III
                                           Terrell N. Roberts, III




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